404 F.2d 343
    UNITED STATES of America for the Use of F. E. ROBINSON CO.,OF N.C., Inc.; and F. E. Robinson Co. of N.C.,Inc., Appellees,v.ALPHA-CONTINENTAL, a Joint Venture, etc., et al., Appellants.
    No. 12277.
    United States Court of Appeals Fourth Circuit.
    Argued Oct. 30, 1968.Decided Dec. 4, 1968.
    
      R. M. Ginsberg and Jack D. Eades, Dallas, Tex.  (W. W. Speight and W. H. Watson, Greenville, N.C., on brief), for appellants.
      John H. Anderson, Raleigh, N.C., and Ray Rankin, Charlotte, N.C., for appellees.
      Before SOBELOFF and BRYAN, Circuit Judges, and HUTCHESON, District judge.
      PER CURIAM:
    
    
      1
      Under the Miller Act, 40 U.S.C.A. 270a, 270b, the District Court gave judgment in favor of the sub-subcontractor F. E. Robinson Co. of N.C., Inc. against the general contractor, joint venturers composing Alpha-Continental, and its surety, as well as against the subcontractor, for labor furnished during 1961 and 1962 in the construction and installation of radio facilities at Greenville, North Carolina for the United States Information Service.
    
    
      2
      The order of the District Court now on review evolved from a trial without a jury.  Searching and comprehensive exploration of the evidence is evinced by the discussion, findings and conclusions embodied in the opinion of the judge, reported as United States et al. v. Alpha-Continental, 273 F.Supp. 758 (E.D.N.C.1967).  In a close look at the record we discover no clear error in the facts as resolved and refined by him from the evidence, F.R.Civ.P. 52(a), nor do we observe mistake of law.  The appeal tenders no premise for reversal of the judgment; we affirm on the findings and for the reasons stated in the opinion filed in the case.
    
    
      3
      Affirmed.
    
    